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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

 

Intersections, Inc.,
Plaintiff,
v. Case N0. 1109cv597 (LMB/TCB)
Joseph C. Loomis, et al.,

Defendant.

 

 

. NOTICE OF FILING BANKRUPTCY OF JOSEPH C. LOOMIS
PLEASE TAKE NOTICE that on January 26, 2010, Joseph C. Loomis filed a voluntary
petition under Chapter 11 Of the Bankruptcy Code, 11 U.S.C. §301, in the United States
Bankruptcy for the District of Arizona, Case N0. 2:10-BK-01885.

Dated this 26th day ofJanuary, 2010.

/S/

Timothy J. McEvOy, VSB N0. 33277
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CERTIFICATE OF SERVICE

l hereby certify that on this 26th day of January, 2010, l have filed a true and correct copy of
the foregoing vvith the Clerk of Court via the Cl\/l/ECF ef`iling system Which vvill send notification of
this filing to the following counsel of record:

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